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IN THE UNITED sTATES DIsTRICT coURT Fl£DBY%--D‘c‘
FOR THE wESTERN DISTRICT oF TENNESSEE

 

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x G£@§@ crim simms
cAssANDRA P. DIXoN, x -
X
Plaintiff, x
X
vs. X No. 05~2198-Ml/P
)(
Jo ANNE BARNHART, x
coMMIssIoNER OF socIAL sECURITY,x
X
Defendant. X
X

 

ORDER GRANTING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING APPOINTMENT OF COUNSEL
AND
ORDER TO EFFECT SERVICE OF PROCESS

 

Plaintiff Cassandra P. Dixon filed a ppg §§ complaint
pursuant to 42 U.S.C. § 405(§) on March 14, 2005, accompanied by an
application to proceed ip ;Q;mg pauperis and a motion for
appointment of counsel. Based on the information set forth in the
plaintiff’s affidavit, the motion to proceed ip ;p;ma pauperis is
GRANTED. The Clerk shall record the defendant as Jo Anne Barnhart,
Commissioner of Social Security.

With respect to the motion seeking appointment of
counsel, 28 U.S.C. § l9l§(d) provides that the “court may request
an attorney to represent any such person unable to employ

counsel.”1 However, “[t]here is no constitutional or

 

1 However, “§ 1915(d) does not authorize the federal courts to make
coercive appointments of counsel." to represent indigent civil litigants. Mallard
(continued. . .)

This document entered on the docket she

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statutory right to counsel in federal civil cases.” Farmer v. Haas,
990 F.2d 319, 323 (7th Cir. 1993). Generally, a court will only
appoint counsel in exceptional circumstances. Willett v. Wells, 469
F. Supp. 748, 751 (E.D. Tenn. 1977). Although “no comprehensive
definition of exceptional circumstances is practical,” Branch v.
Qple, 686 F.2d 264, 266 (5th Cir. 1982), courts resolve this issue
through a fact-specific inquiry. Wilborn v. Escalderon, 789 F.Zd
1328, 1331 (9th Cir. 1986). Examining the pleadings and documents
in the file, the Court analyzes the merits of the claims, the
complexity of the case, the ppg §§ litigant's prior efforts to
retain counsel, and her ability to present the claims. Henry v.
Citv of Detroit ManDower Dep't, 763 F.2d 757, 760 (6th Cir. 1985);
Wiqqins v. Sargent, 753 F.Zd 663, 668 (8th Cir. 1985).

As a general rule, counsel should be appointed in civil
cases only if a litigant has made “a threshold showing of some
likelihood of merit.” Cooper v. A. Sargenti Co., 877 F.2d 170, 174
(2d Cir. 1989).2 At this stage of the proceedings, before the Court
has had the opportunity to assess the strength of plaintiff's case,
the Court is unable to conclude that plaintiff has satisfied that

standard. Moreover, there is no reason to believe that an attorney

 

1 (...continued)
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

2 'I‘he Second Circuit elaborated: “Courts do not perform a useful
service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent.”
Id.

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cannot be located who would be willing to take the case. The motion
for appointment of counsel is DENIED.

lt is ORDERED that the Clerk shall issue process for the
defendant and deliver said process to the marshal for service.
Service shall be made on the defendant pursuant to Fed. R. Civ. P.
4(1)(2)(A)-

lt is further ORDERED that the plaintiff shall serve a
copy of every further document filed in this cause on the attorney
for the defendant, or on the defendant if she has no attorney. The
plaintiff shall make a certificate of service on every document
filed. The plaintiff shall familiarize herself with the Federal
Rules of Civil Procedure and this Court's local rules. The
plaintiff must promptly notify the Clerk of any change of address
or whereabouts. Failure to comply with these requirements, or any
other order of the Court, may result in this case being dismissed
without further notice.

/
IT rs so ORDERED this 4¢.`> day of Juiy,. 2005.

wyth

ON P IPPS MCCALLA
UNIT D STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02198 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

Cassandra P. Dixon
2828 Birchtield Drive
i\/lemphis7 TN 38127

Honorable Jon McCalla
US DISTRICT COURT

